Case No. 1:20-cr-00305-DDD   Document 363-2   filed 01/09/24   USDC Colorado   pg
                                    1 of 2




                    EXHIBIT 2
Case No. 1:20-cr-00305-DDD                Document 363-2        filed 01/09/24      USDC Colorado        pg
                                                 2 of 2




                              DECLARATION FOR RECORDS OF REGULARLY
                                   CONDUCTED BUSINESS ACTIVITY

       Subpoena #: 20-0660
                               ATLANTIC UNION BANK
       Company Name:

  lL     WILLIAM VAUGHAN            , declare that I am/was employed by      ATLANTIC UNION BANK
  and am/was a duly authorized custodian of records or am otherwise qualified to speak about
  these records produced in response to the subpoena referenced above. These records are further
  described as: (Please describe records with as much specificity as possible below or on an
  attached sheet.)
        STATEMENTS

        CHECKS

        DEPOSITS
        SIGNATURE CARDS

         RESOLUTIONS

        WIRES

        LOAN PAPERWORK

  I am familiar with the mode of preparation of these records. I certify that these records are true
  copies of records of the entity listed above and that these records were:

         A.   Made at or near the time of the act, event, condition, opinion, or diagnosis by--or from
              information transmitted by--a person with knowledge;
         B. Kept in the course of the entity’s regularly conducted activity; and

         C. Made as a regular practice of that activity.

  I declare under penalty of perjury that the foregoing is true and correct.


       ive VR               Nabe   Arce                               WILLIAM VAUGHAN
  Signature                                                        Printed name


                  7-27-20
  Date:




                                                                                               ACNB_00000001
